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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                   Plaintiffs,

                       - against -                              Adv. Pro. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                                   Defendants.


                               SUMMONS AND NOTICE OF PRETRIAL
                            CONFERENCE IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within thirty (30) days after the date of issuance of
this summons, except that the United States and its offices and agencies shall file a motion or answer to
the complaint within thirty-five (35) days.

         Address of Clerk:

                                   United States Bankruptcy Court for the District of Delaware
                                   824 Market Street, 3rd Floor
                                   Wilmington, Delaware 19801

1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and 4063,
    respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the
    last four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
    be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal
    place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill
    Road, St. John’s, Antigua and Barbuda.

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At the same time, you must also serve a copy of the motion or answer upon the plaintiffs’ attorneys.

         Name and Address of Plaintiff’s attorneys:

                               LANDIS RATH & COBB LLP
                               Adam G. Landis (No. 3407)
                               Matthew B. McGuire (No. 4366)
                               Kimberly A. Brown (No. 5138)
                               Matthew R. Pierce (No. 5946)
                               919 Market Street, Suite 1800
                               Wilmington, Delaware 19801
                               Telephone: (302) 467-4400
                               Facsimile: (302) 467-4450
                               E-mail: landis@lrclaw.com
                                       mcguire@lrclaw.com
                                       brown@lrclaw.com
                                       pierce@lrclaw.com

                               -and-

                               SULLIVAN & CROMWELL LLP
                               Steven L. Holley (admitted pro hac vice)
                               Stephanie G. Wheeler (admitted pro hac vice)
                               Brian D. Glueckstein (admitted pro hac vice)
                               Christopher J. Dunne (admitted pro hac vice)
                               Jacob M. Croke (admitted pro hac vice)
                               125 Broad Street
                               New York, NY 10004
                               Telephone: (212) 558-4000
                               Facsimile: (212) 558-3588
                               E-mail: holleys@sullcrom.com
                                       wheelers@sullcrom.com
                                      gluecksteinb@sullcrom.com
                                      dunnec@sullcrom.com
                                      crokej@sullcrom.com


If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the
complaint will be held at the following time and place.

         Address: United States Bankruptcy Court              Room:
                  824 Market Street                           5th Floor, Courtroom No. 5
                  Wilmington, DE 19801
                                                              Date and Time:
                                                              September 13, 2023 at 1:00 p.m. (ET)



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IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO
BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
IN THE COMPLAINT.

United States Bankruptcy
 Court for the District
     of Delaware

Dated: July 19, 2023                                       /s/ Una O’Boyle
                                                           Clerk of the Bankruptcy Court




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)


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TRADING LTD.,

                                    Plaintiffs,

                        - against -                              Adv. Pro. No. 23-50444 (JTD)

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BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
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LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                                    Defendants.


                       NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

       As party to litigation you have a right to adjudication of your matter by a judge of this
Court. Settlement of your case, however, can often produce a resolution more quickly than
appearing before a judge. Additionally, settlement can also reduce the expense, inconvenience,
and uncertainty of litigation.

       There are dispute resolution structures, other than litigation, that can lead to resolving your
case. Alternative Dispute Resolution (ADR) is offered through a program established by this
Court. The use of these services are often productive and effective in settling disputes. The
purpose of this Notice is to furnish general information about ADR.


1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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        The ADR structures used most often are mediation, early-neutral evaluation,
mediation/arbitration and arbitration. In each, the process is presided over by an impartial third
party, called the “neutral.”

        In mediation and early neutral evaluation, an experienced neutral has no power to impose
a settlement on you. It fosters an environment where offers can be discussed and exchanged. In
the process, together, you and your attorney will be involved in weighing settlement proposals and
crafting a settlement. The Court in its Local Rules requires all ADR processes, except threat of a
potential criminal action, to be confidential. You will not be prejudiced in the event a settlement
is not achieved because the presiding judge will not be advised of the content of any of your
settlement discussions.

        Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful,
agree that the mediator will act as an arbitrator. At that point, the process is the same as arbitration.
You, through your counsel, will present evidence to a neutral, who issues a decision. If the matter
in controversy arises in the main bankruptcy case or arises from a subsidiary issue in an adversary
proceeding, the arbitration, though voluntary, may be binding. If a party requests de novo review
of an arbitration award, the judge will rehear the case.

       Your attorney can provide you with additional information about ADR and advise
you as to whether and when ADR might be helpful in your case.


Dated: July 19, 2023                                    /s/ Una O'Boyle
                                                        Clerk of Court




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     Platform Life Sciences Inc.                                 Lumen Bioscience, Inc.
       506-1505 W 2nd Ave.                                      441 N. 34th St, Suite 300
     Vancouver, BC V6H 3Y4                                      Seattle, WA USA 98103




GreenLight Biosciences Holdings, PBC                               Riboscience LLC
        200 Boston Avenue                                        3901 Laguna Avenue
        Medford, MA 02155                                        Palo Alto, CA 94306




       Genetic Networks LLC                                       4J Therapeutics Inc.
    1951 NW 7th Ave., Suite 300                                      965 Clark Way
         Miami, FL 33136                                          Palo Alto, CA 94304




        Ross Rheingans-Yoo                                        Sam Bankman-Fried
         5 Riverdale Drive                                         747 Cooksey Lane
        Orono, Maine 04473                                        Stanford, CA 94305
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         FTX Foundation
c/o The Corporation Trust Company,                             Nicholas Beckstead
     Corporation Trust Center,                                287 Mather St, Apt 5
        1209 Orange Street                                    Oakland, CA 94611
      Wilmington, DE 19801
